            Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

VANCE DOTSON,                             §
                                          §
     Plaintiff,
                                          §
                                          §
v.                                                CASE NO. 5:22-cv-00002-D
                                          §
                                          §
ACCOUNT RESOLUTION
                                          §
SERVICES d/b/a HEALTHCARE
                                          §
REVENUE RECOVERY GROUP,
                                          §
LLC., and CAC FINANCIAL CORP.,
                                          §
     Defendants.                          §


              DEFENDANT CAC FINANCIAL CORP.’S ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendant CAC FINANCIAL CORP (“CAC”), by and

through its undersigned counsel, and files its Answer to Plaintiff’s Complaint

as follows:

                               INTRODUCTION

       1.     CAC admits Plaintiff brings this action alleging violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter

“FDCPA”). However, CAC denies it committed any violation as alleged.

                                JURISDICTION

       2.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 2; therefore, it denies the same.
            Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 2 of 6




      3.      CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 3; therefore, it denies the same.

      4.      CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 5; therefore, it denies the same.



                                    PARTIES

      5.      CAC admits Plaintiff is a natural person. CAC lacks knowledge or

information sufficient to form a belief about the truth of the remainder of

Paragraph 5; therefore, it denies the same.

      6.      CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 6; therefore, it denies the same.

      7.      CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 7; therefore, it denies the same.

      8.      CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 8; therefore, it denies the same.

      9.      CAC admits Paragraph 9.

      10.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 10; therefore, it denies the same.

      10.     CAC admits that it, at times, acts as a “debt collector” as defined

by the FDCPA. However, CAC lacks knowledge or information sufficient to
            Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 3 of 6




form a belief as to whether it acted as a “debt collector” as defined by the

FDCPA in this matter and therefore denies Paragraph 9.

      10.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 10; therefore, it denies the same.

                                     FACTS

      11.     CAC admits that it, at times, acts as a “debt collector” as defined

by the FDCPA. However, CAC lacks knowledge or information sufficient to

form a belief as to whether it acted as a “debt collector” as defined by the

FDCPA in this matter and therefore denies Paragraph 11 as to itself. CAC

lacks knowledge or information sufficient to form a belief about the truth of

the remainder of Paragraph 11; therefore, it denies the same.

      12.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 12; therefore, it denies the same.

      13.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 13; therefore, it denies the same.

      14.     CAC lacks knowledge or information sufficient to form a belief

about the truth of Paragraph 14; therefore, it denies the same.

      15.     CAC denies Paragraph 15.

      16.     CAC denies Paragraph 16.

      17.     CAC denies Paragraph 17.

      18.     CAC denies Paragraph 18.
            Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 4 of 6




      19.     CAC denies Paragraph 19 as it is an incomplete and inaccurate

statement of law.

                  COUNT I—VIOLATIONS OF THE FDCPA

      20.     CAC re-alleges the Paragraphs above as though fully stated fully

herein.

      21.     As to itself, CAC denies Paragraph 21.

      22.     As to itself, CAC denies Paragraph 22.

      23.     As to itself, CAC denies Paragraph 23.

                JURY DEMAND AND REQUEST FOR RELIEF

      24.     CAC admits Plaintiff requests a jury trial.      CAC denies that

Plaintiff is entitled to any of the relief sought.

                          AFFIRMATIVE DEFENSES

      25.     Any violation, if it occurred, was the result of a bona fide error.

Specifically, CAC has policies and procedures in place to ensure that disputed

accounts are marked as disputed. If the account at issue was not marked as

disputed, any error in marking the account as disputed was not intentional

and resulted from a bona fide error notwithstanding the maintenance of

procedures reasonably adapted to avoid any such error.

      26.     Plaintiff’s damages, if any, are the result of the actions of third

parties over whom CAC has no control. Specifically, if any credit bureau failed

to update Plaintiff’s account as disputed, this is no fault of CAC.
            Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 5 of 6




      27.     Plaintiff’s damages, if any, were pre-existing damages not caused

by CAC. Insofar as Plaintiff is alleging mental anguish damages, CAC asserts

that those damages were not caused by CAC.

      28.     Plaintiff has failed to mitigate damages, if any. Specifically, if

Plaintiff believed that the account should have been marked as disputed,

Plaintiff never made that fact known to CAC.

      29.     Plaintiff proximately caused her own damages, if any. Specifically,

if Plaintiff believed that the account should have been marked as disputed,

Plaintiff never made that fact known to CAC.

      WHEREFORE, PREMISES CONSIDERED, CAC respectfully prays

that Plaintiff take nothing herein, that CAC be dismissed with their costs, and

all other and further relief, at law or in equity, to which CAC may be justly

entitled.




                   [SIGNATURE BLOCK ON NEXT PAGE]
         Case 5:22-cv-00002-D Document 14 Filed 01/31/22 Page 6 of 6




Dated: November 29, 2021.           Respectfully submitted,

                                    /s/ Xerxes Martin
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                      CERTIFICATE OF SERVICE

      I hereby certify that on January 31, 2022, I served the foregoing on the
Plaintiff via CMRR and Email:

CMRR: 7020 1810 0000 2545 5860
Vance Dotson
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Oklahoma City, OK 73116
Email: vancedotson@yahoo.com

                                    /s/ Xerxes Martin
                                    EUGENE XERXES MARTIN, IV
